                                        EXHIBIT I
                             [Summary of Itemized Time Records]




DOCS_DE:238894.1 18502/001
 Case 1-20-10322-CLB, Doc 1680-9, Filed 04/25/22, Entered 04/25/22 18:41:26,
       Description: Exhibit I - Summary of Itemized Time Records, Page 1 of 2
        SUMMARY OF PROFESSIONAL SERVICES RENDERED BY TIMEKEEPER
           FOR THE PERIOD OF JUNE 1, 2021 THROUGH JANUARY 31, 2022

                                                      (Partners)

    NAME OF PROFESSIONAL                       EFFECTIVE HOURLY                        TOTAL       FEES
        (in alphabetical order)                        RATE                            HOURS      BILLED
              PARTNERS                        (Capped at $700 per Hour)                BILLED
    James I. Stang                                              $700.00                     1.60   $1,120.00
    Iain A.W. Nasatir                                           $700.00                    10.50   $7,350.00
    Ilan D. Scharf                                              $700.00                   291.80 $204,260.00
                                                    Totals for Partners:                  303.90 $212,730.00

                                                     (Of-Counsel)

    NAME OF PROFESSIONAL                       EFFECTIVE HOURLY                        TOTAL       FEES
        (in alphabetical order)                        RATE                            HOURS      BILLED
            OF COUNSEL                        (Capped at $700 per hour)                BILLED
    Brittany M. Michael                                          $700.00                   55.00 $38,500.00
    Brittany M. Michael                                          $695.00                  203.80 $141,641.00
    William L. Ramseyer                                         $850.001                   10.50   $8,925.00
    William L. Ramseyer                                          $700.00                    0.20    $140.00
                                                  Totals for Of-Counsel:                  269.50 $189,206.00

                                                 (Paraprofessionals)

    NAME OF PROFESSIONAL                        EFFECTIVE HOURLY                       TOTAL               FEES
        (in alphabetical order)                       RATE                             HOURS              BILLED
      PARAPROFESSIONALS                                                                BILLED
    Cheryl A. Knotts                                             $300.00                    6.70           $2,010.00
    La Asia S. Canty                                             $300.00                    5.20           $1,560.00
    Nancy P.F. Lockwood                                          $300.00                   20.00           $6,000.00
    Nancy H. Brown                                               $300.00                   33.70          $10,110.00
    Sophia L. Lee                                                $300.00                  126.50          $37,950.00
                                            Totals for Paraprofessionals:                 192.10          $57,620.00




1
    This rate was reduced in the total amount requested in the 3rd Interim Fee Application to reflect the $700 rate.


DOCS_DE:238894.1 18502/001
    Case 1-20-10322-CLB, Doc 1680-9, Filed 04/25/22, Entered 04/25/22 18:41:26,
          Description: Exhibit I - Summary of Itemized Time Records, Page 2 of 2
